Case: 2:18-cv-00100-JLG-CMV Doc #: 14 Filed: 04/11/18 Page: 1 of 1 PAGEID #: 1139



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

VANESSA NIEKAMP,

               Plaintiff,
                                                        Civil Action 2:18-cv-100
                                                        Judge James L. Graham
       v.                                               Magistrate Judge Chelsey M. Vascura


OHIO BOARD OF EMBALMERS &
FUNERAL DIRECTORS,

               Defendant.

                                            NOTICE

PROCEEDING:            PRELIMINARY PRETRIAL CONFERENCE
PLACE:                 ROOM 172
                       Kinneary U.S. Courthouse
                       85 Marconi Blvd.
                       Columbus, OH 43215
DATE/TIME:             JUNE 21, 2018 at 3:00 P.M.

PLEASE NOTE:
       1. The report required by Rule 26(f) of the Federal Rules of Civil Procedure must be filed
no fewer than seven (7) days prior to the pretrial conference. The required form can be found on
the Court’s website, www.ohsd.uscourts.gov Click on “Forms” and then select “Rule 26(f)
Report of the Parties (Eastern Division Only).”

       2. The Eastern Division General Order on Pretrial Conference can also be found on the
Court’s website.

       3. If all parties agree, the parties may request that the conference be conducted by
telephone. The Court will only conduct the conference by telephone if all parties participate by
phone. If counsel so agree, they shall notify the undersigned and/or indicate this preference in the
Rule 26(f) Report. The parties must initiate the conference call to 614-719-3410.

       4. Parties or principals are welcome, but not required, to attend the conference.

                                                      /s/ Allison Moran
                                                     Allison Moran, Courtroom Deputy
                                                     Allison_Moran@ohsd.uscourts.gov
                                                     614-719-3410
